BP-S148.055 INMATE REQUEST TO STAFF CDFRM
SEP 98

 

 

 

 

U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS
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TO: (Name and Title of Staff Member) DATE:
Me. MiecHALs Ke 5 CASE MA) AGER Tone AG 2o'"g
FROM: = REGISTER NO.:
Charles Fried leacler SO03Q 6-0/8
WORK ASSIGNMENT: UNIT:
/ Wal aq A-

 

 

 

 

SUBJECT: (Briefly state your question or concern and the solution you are requesting.
Continue on back, if necessary. Your failure to be specific may result in no action being
taken. If necessary, you will be interviewed in order to successfully respond to your

request.)

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(Do not write below this line)

DISPOSITION:

 

Signature Staff Member Date

 

 

Record Copy - File; Copy - Inmate
(This form may be replicated via WP) This form replaces BP-148.070 dated Oct 86

and BP-S148.070 APR 94
®.. on Recycled Paper
BP-A0148 INMATE REQUEST TO STAFF cprrM

 

 

 

 

HSLC 10
U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS
Od
TO: (Name and Title of Staff Member) DATE:
Social Worker Qretade-Branch June 10, 2019
FROM: REGISTER NO.:
Charles Friedlander 50328-018
WORK ASSIGNMENT: UNIT:
N/A Wake A

 

 

 

 

SUBJECT: (Briefly state your question or concern and the solution you are requesting.
Continue on back, if necessary. Your failure to be specific may result in no action being
taken. If necessary, you will be interviewed in order to successfully respond to your
request.

I would like to be considered for a Reduction in Sentence (RIS). I meet the

Te
qualifications listed under: (circle one) Terminal Medical Condition\. Debilitated

Medical Condition, Elderly with Medical Conditions.

 

 

1. Identified caregiver, address and phone number

     
  
    

2. Any medica enerits received prior to belng incarcerate

   
 
 

3. Name of facility for continuity of care

 

(Do not write below this line)
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DISPOSITION:

 

Signature Staff Member Date

 

 

Record Copy - File; Copy - Inmate
PDF Prescribed by N551/

This form replaces BP-148.070 dated Oct 86
BP-S148.070 APR

FRIEDLANDER, CHARLES 50328018
PERLE IN SECTION 6 UNLESS APPROPRIATE FOR Prxoibachy PoLDER SECT ION 6
BP-S621.060 AUTHORIZATION FOR RELEASE OF MEDICAL INFORMATION copFrRM
FEB 05

 

 

U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS
Inmate Name: Register Number: Date: | ¥¢ :
CYARLES Fx /ED LAER 56328 6/ sho fF

 

 

 

Date of a Soci ri Number:

I hereby authorize and request the Federal Bureau of Prisons to:

 

 

M release information to, or MM obtain information from PLEASE CONTACT IF
PAYMENT IS REQUIRED
Name/Facility: All Agencies and Individuals Relevant to Release Planning PRIOR TO FILLING
REQUEST
Address:

 

City, State, Zip:

 

 

I understand the information is to be used for (specific reason for release of information):

M Continuation of care, or M Other Discharge Planning

 

Information to be Released/Obtained: Copy of and/or information from my medical file pertaining to

 

my evaluation and treatment received from BUH Admission to Present
This is to include: M Complete Record M Discharge Summary M History & Physical
M Operative Reports M Consultations M Progress Notes M X-ray Reports
M Laboratory Reports WM Pathology Reports O Actual Films*# O Actual Slides*
*will be returned
O other: #duplicates accepted

 

 

I understand that authorizing the disclosure of this health information is voluntary. I can refuse
to sign this authorization. I need not sign this form in order to assure treatment. I understand
that information used or disclosed pursuant to this authorization could be subject to redisclosure
by the recipient and, if so, may not be subject to federal or state law protecting its confidentiality.
I understand that I may revoke this consent at any time by sending a written notice to the Supervisor
of Medical Records. I understand that any release which has been made prior to my revocation and
which was made in reliance upon this authorization shall not constitute a breach of my rights to
confidentiality. This authorization will automatically expire three months from the date of the
signature.

 

Date (Month, Day, Year) | Staff Witness

Cn 2019

SPECIFIC AUTHORIZATION FOR RELEASE OF INFORMATION PROTECKED BY STATE OR FEDERAL LAW.
Must sign below, to Release Protected Information.

 

 

 

 

I specifically authorize the release of data and information relating to:

 

 

 

 

a Subst bu M2. Mental Health M3. HIV
lc \ 2.20 iD
F Signature ‘ Date
Deliver Records To: (Institution Address & Fax number)
FMC Butner

Attn: Health Information
PO Box 1600

Butner,NC 27509

Phone: (919) -575-3900
Fax: (919)-575-4843

SrA EFS SPIATrREIOIe Erne
PyP SORE Pe be Cos Abe oe sy re
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This form replaces BP-S621Dtd AUG 96

   

QQ

 

(This form may be replicated via WP)
